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                EXHIBIT 2
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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE
                                 WESTERN DIVISION


 ROW VAUGHN WELLS, INDIVIDUALLY       )
 AND AS ADMINISTRATRIX OF THE         )
 ESTATE OF TYRE DEANDRE NICHOLS,      )
 DECEASED,                            )
                                      )
       Plaintiffs,                    )
                                      )
 v.                                   )                    CASE NO. 2:23-CV-02224
                                      )                    JURY DEMAND
 THE CITY OF MEMPHIS, A MUNICIPALITY; )
 CHIEF CERELYN DAVIS, IN HER OFFICIAL )
 CAPACITY; EMMITT MARTIN III, IN HIS  )
 INDIVIDUAL CAPACITY; DEMETRIUS       )
 HALEY, IN HIS INDIVIDUAL CAPACITY;   )
 JUSTIN SMITH, IN HIS INDIVIDUAL      )
 CAPACITY; DESMOND MILLS, JR. IN HIS  )
 INDIVIDUAL CAPACITY; TADARRIUS       )
 BEAN, IN HIS INDIVIDUAL CAPACITY;    )
 PRESTON HEMPHILL, IN HIS INDIVIDUAL  )
 CAPACITY; ROBERT LONG, IN HIS        )
 INDIVIDUAL CAPACITY; JAMICHAEL       )
 SANDRIDGE, IN HIS INDIVIDUAL         )
 CAPACITY; MICHELLE WHITAKER, IN HER )
 INDIVIDUAL CAPACITY; DEWAYNE         )
 SMITH, IN HIS INDIVIDUAL CAPACITY    )
 AND AS AGENT OF THE CITY OF          )
 MEMPHIS,                             )
                                      )
       Defendants.                    )


                   DEFENDANT THE CITY OF MEMPHIS’ RESPONSES TO
                 PLAINTIFF’S SIXTH SET OF REQUESTS FOR PRODUCTION


         Defendant the City of Memphis (“the City”), pursuant to Rule 34 of the Federal Rules of

Civil Procedure, responds to Plaintiff’s Sixth Set of Requests for Production as follows:

         The City objects to these Requests as untimely. Pursuant to the operative Second Amended

Scheduling Order, ECF No. 185, the deadline for completing written discovery was July 2, 2024.
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Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the City in

the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024.

         The City is not waiving any objection to these Requests, and the City will revise its

Responses to the Requests if the Court allows additional discovery in the case.

                   RESPONSES TO SIXTH REQUESTS FOR PRODUCTION

General Requests

         120.    All documents identified by the City pursuant to Rule 26(a)(1)(A)(ii).

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024. Subject to and without waiving this objection, the City states that it has produced

all documents identified in its Initial Disclosures.

         121.    All Documents obtained via third-party subpoena in this litigation.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024. Subject to and without waiving this objection, the City states that it has produced

all documents obtained via third-party subpoena to all counsel of record in this action.

         122.    All documents that the City may use solely for impeachment during any deposition,

hearing, or trial in this case.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second
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Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024. The City further objects to this Request in that it seeks information protected by

the attorney work product doctrine. The City is withholding documents responsive to this Request.

         123.    All Documents which relate to, support, or rebut any of the allegations or claims in

Plaintiff’s Complaint.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024. The City further objects to this Request on the ground that is overbroad.

         124.    All Documents which relate to, support, or rebut the City’s affirmative defenses and

answers to Plaintiff’s Complaint, including all Documents upon which the City may rely at trial.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024. The City further objects to this Request as vague in that the City has not yet

answered Plaintiff’s Complaint. The City also objects to the extent that the Request seeks documents

protected by the attorney work product doctrine.

         125.    All Documents and Communications that support, relate to, are referenced in, or

which you consulted in preparing any of your responses to any of Plaintiff’s Interrogatories and


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Requests to Admit in this case. Please note your continuing obligation to supplement your response

to this request pursuant to Federal Rule of Civil Procedure 26(e).

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024.

         126.       All Documents relating to any Rule 26(a)(2) expert witnesses retained by the City in

this matter, including but not limited to:

                 a. All Communications to and from said expert(s) related to this litigation;

                 b. All Documents provided to and/or relied upon by said expert(s) related to this
                    litigation;

                 c. All notes, reports, and analyses by said expert(s) related to this litigation, including
                    any handwritten markings on any materials provided to the expert(s);

                 d. All bills or statements of the hours and compensation paid to or billed by the expert(s)
                    for work on this matter; and

                 e. Any transcripts of prior testimony related to Rule 26(a)(2)(B) reports of said
                    expert(s).

         Please note your continuing obligation to supplement your response to this request pursuant

to Federal Rule of Civil Procedure 26(e).

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024. Subject to and without waiving this objection, the City states that it does not

have any documents responsive to this Request at this time.
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         127.    Any and all demonstrative aids or exhibits which may be used at trial. Please note

your continuing obligation to supplement your response to this request pursuant to Rule 26(e) as

such information becomes available.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024. The City further objects to this Request as duplicative of Request No. 22. Further,

this Request is premature and seeks documents protected by the attorney work product doctrine. The

City is withholding documents responsive to this Request.

         128.    All Documents that the City intends to use or rely upon in this litigation relating to

any arrests or convictions of Plaintiff or of any witnesses with information about the events described

in Plaintiff’s Complaint and any responses thereto. Please note your continuing obligation to

supplement this request pursuant to Rule 26(e), which remains ongoing as discovery progresses, and

be advised that Plaintiff intends to move in limine to bar any references to arrests or convictions not

identified in the manner requested.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024. The City further objects to this Request on the ground that it seeks documents

protected by the attorney work product doctrine.




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Requests Relating to U.S. Department of Justice

         129.    All communications between the City and the U.S. Department of Justice (“DOJ”)

since January 7, 2023 relating to the patterns or practices of the City of Memphis or the Memphis

Police Department (“MPD”), as well as the DOJ’s investigation relating to same.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024. The City further objects to this Request on the ground that it seeks documents

that are not relevant to the litigation. The City is withholding documents responsive to this Request.

         130.    All communications between the City and the DOJ since January 7, 2023 relating to

the DOJ Pattern or Practice Investigation, including communications during the time that said

investigation was anticipated but not yet announced.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024. The City further objects to this Request as duplicative of Request No. 129. The

City further objects to this Request on the ground that it seeks documents that are not relevant to the

litigation. The City is withholding documents responsive to this Request.

         131.    All communications between the City and the DOJ described in or relating to the

following portion of the DOJ Press Release: “Prior to the announcement, Department officials

informed Mayor Jim Strickland, MPD Chief Cerelyn Davis, and Interim Chief Legal Officer Michael


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Fletcher. They pledged to cooperate with the investigation.”

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024. The City further objects to this Request on the ground that it seeks documents

that are not relevant to the litigation. The City is withholding documents responsive to this Request.

         132.    Documents sufficient to identify all current or former employees of the City of

Memphis that the City of Memphis has made available for interviews with DOJ or that DOJ has

requested to interview relating to the DOJ Pattern or Practice Investigation , and the date, time, and

participants in any such interviews. Please note your continuing obligation to supplement your

response to this request pursuant to Rule 26(e) as such information or documents become available.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024. The City further objects to this Request on the ground that it seeks documents

that are not relevant to the litigation. The City is withholding documents responsive to this Request.

         133.    All documents the City has provided or produced to the DOJ since January 7, 2023

relating to or in connection with the DOJ Pattern or Practice Investigation.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the


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City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024. The City further objects to this Request on the ground that it seeks documents

that are not relevant to the litigation. The City is withholding documents responsive to this Request.

City of Memphis Policies and Practices

         134.       Documents sufficient to show the policies and the practices of the City of Memphis

and the MPD relating to each of the following subjects:

                 a. The use of force by MPD officers, including the use of force against civilians who
                    flee from, aggravate, antagonize, or otherwise anger police officers;

                 b. The use of body-worn and car cameras to record police-civilian interactions;

                 c. The reporting by MPD Officers of police-civilian encounters involving use of force;

                 d. The review by MPD supervisors, the Inspectional Services Bureau (“ISB”), and any
                    other reviewing unit/officer of police reports and camera footage related to MPD
                    officers’ use of force, and the escalation of incidents identified in the review process
                    as improper uses of force;

                 e. The documentation and recordkeeping requirements for the review described in
                    Request 134(d).

                 f. The auditing and oversight of the review described in Request 134(d);

                 g. The review and auditing of MPD officers’ use of body-worn cameras and car
                    cameras;

                 h. The solicitation, documentation, review, and investigation of civilian complaints
                    related to use of force or traffic stops;

                 i. reporting requirements for MPD officers who observe or believe that another MPD
                    officer has violated MPD policy, state law, or federal law in the performance of his
                    or her law enforcement duties, including but not limited to the use of force, the
                    reporting of use of force, and the use of body-worn cameras or car cameras;

                 j. the criteria and process for hiring police officers, at both the probationary and fully
                    sworn stages, including any educational, training, mental health, and character
                    requirements or screening;

                 k. training of MPD officers regarding traffic stops, use of force, duty to intervene, the
                    reporting of use of force, and the use of body-worn cameras or car cameras.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second
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Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024. The City further objects that this Request seeks documents already produced in

the litigation. The City is withholding documents responsive to this Request.

         135.    Documents sufficient to identify any policymaker who was responsible for or had

final policymaking authority for any policy or practice of the City of Memphis or the MPD on any

of the subjects identified in Request 134 above, as well as all Documents relating to any effort of

those policymaker(s) to review, investigate, analyze, uncover, prevent, or determine the prevalence

of any misconduct, deficiency, shortcoming, or other problem relating to any such policy or practice.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024. The City further objects to this Request on the grounds of overbreadth, relevance,

and vagueness. The City is withholding documents responsive to this Request.

         136.    All Documents relating to any change made to any policy or practice of the City of

Memphis or the MPD on any of the subjects identified in Requests 134 and 135 above.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024. The City further objects to this Request on the grounds of overbreadth, relevance,


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and vagueness. The City is withholding documents responsive to this Request.

         137.    All Documents relating to the practice of imposing a “tax” by MPD officers,

including but not limited to any communications relating to the same to or from any of the

policymakers identified pursuant to Request 135 above.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024. The City further objects to this Request on the grounds of overbreadth, relevance,

and vagueness, as “tax” is undefined. Subject to and without waiving those objections, the City is

unaware of any documents responsive to this Request.

         [UNNUMBERED REQUEST] All MPD training materials related to officers’ use of body-

worn cameras, including but not limited to training modules, training schedules, lesson plans, course

outlines, instructional videos, and test materials.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024. The City further objects on the grounds that the Request seeks documents already

produced in the litigation.

Data and Background Documents

         138.    Data relating to every Response to Resistance report, including but not limited to the

aggregated       data   that   the   MPD      publishes    on   https://reimagine.memphistn.gov/isb-


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dashboard/response-to-resistance/.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024. The City further objects on overbreadth and vagueness grounds.

         139.    All of SCORPION Unit’s “operational plans,” and all drafts or versions of said plans.

See COM_0047038.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024.

         140.    All communications relating to or transmitting any of SCORPION Unit’s

“operational plans,” including but not limited to communications between SCORPION Unit

Commanders and the “MGU, Narcotics and the Real-Time Crime Center (RTCC) weekly to develop

[SCORPION’s] operational plans.” See COM_0047038.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024. The City further objects to this Request on the basis that it misquotes the

document.


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         141.    All documents related to SCORPION Unit’s “measurable performance objectives.”

See COM_0047039.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024.

Documents Related to Third Party Deponents

         142.    All communications (including any attachments thereto) between the City and any of

the following individuals: Morgan Jackson, Kris Volker, Lori Volker, Marvin Volker, or Melissa

Volker.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024.

         143.    All documents that refer or relate to Morgan Jackson, Kris Volker, Lori Volker,

Marvin Volker, or Melissa Volker.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024. The City further objects to this Request in that it seeks information protected by


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the attorney work product doctrine. The City is withholding documents responsive to this Request.

Individual Use of Force Incidents

         144.    All Documents relating to the January 6, 2023 encounter involving MPD Officer

Demetrius Haley and civilian Deangelo Lauderdale.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024.

         145.    All Documents relating to the January 4, 2023 encounter involving MPD Officers

Emmitt Martin III, Demetrius Haley, Justin Smith, Desmon Mills Jr., Tadarrius Bean and civilian

Monterrious Harris.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024. The City further objects to this Request in that it seeks information protected by

the attorney work product doctrine. The City is withholding documents responsive to this Request.

         146.    All Documents relating to the December 16, 2022 encounter involving MPD Officer

Nahum Dorme and civilian Jaylin McKenzie.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the


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City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024. The City is withholding documents responsive to this Request.

         147.    All Documents relating to the training and supervision Nahum Dorme received

regarding the use of force, the reporting of use of force, and the use of body-worn cameras or car, at

any time in his employment by the Department.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024. The City is withholding documents responsive to this Request.

         148.    All Documents relating to any Complaints, investigations, supervision, or

disciplinary proceedings involving Nahum Dorme, at any time in his employment by the MPD.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024. The City is withholding documents responsive to this Request.

         149.    All Documents relating to the November 26, 2022 encounter involving MPD Officers

Kyle Coudriet and Demetrius Haley and civilian Marcus Bills.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was


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November 1, 2024.

         150.    All Documents relating to the training and supervision Kyle Coudriet received

regarding the use of force, the reporting of use of force, and the use of body-worn cameras or car

cameras, at any time in his employment by the MPD.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024. The City is withholding documents responsive to this Request.

         151.    All Documents relating to any complaints, investigations, supervision, or disciplinary

proceedings involving Kyle Coudriet, at any time in his employment by the MPD.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024. The City further objects to this Request in that it seeks information protected by

the attorney work product doctrine.

         152.    All Documents relating to the October 1, 2022 encounter involving MPD Officer

Demetrius Haley and civilian Maurice Chalmers-Stokes.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was


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November 1, 2024. The City further objects to this Request in that it seeks information protected by

the attorney work product doctrine. The City is withholding documents responsive to this Request.

         153.    All Documents relating to the August 2022 encounter involving MPD/SCORPION

Officers and civilians Sebastion Johnson and Kendrick Johson.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024.

         154.    All Documents relating to the training and supervision that the MPD/SCORPION

officers involved in the August 2022 encounter with civilians Sebastion Johnson and Kendrick

Johson received regarding the use of force, the reporting of use of force, and the use of body-worn

cameras or car cameras, at any time in their employment by the MPD.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024. The City is withholding documents responsive to this Request.

         155.    All Documents relating to the July 2022 encounter involving MPD Officers Emmitt

Martin III and Demetrius Haley, and civilian Jesus Valles.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the


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City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024.

         156.    All Documents relating to the May 2022 encounter involving MPD Officer Emmitt

Martin III and additional SCORPION Officers and civilian Davitus Collier.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024.

         157.    All Documents relating to the training and supervision that the SCORPION Officers

involved in the May 2022 encounter with Davitus Callier received regarding the use of force, the

reporting of use of force, and the use of body-worn cameras or car cameras, at any time in their

employment by the MPD.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024. The City is withholding documents responsive to this Request.

         158.    All Documents relating to any complaints, investigations, supervision, or disciplinary

proceedings involving Officers involved in the May 2022 incident with Davitus Callier, at any time

in their employment by the MPD.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July


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2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024. The City is withholding documents responsive to this Request.

         159.    All Documents relating to the January 2019 encounter involving MPD Officer

William Skelton and civilian Drew Thomas.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024.

         160.    All Documents relating to the training and supervision William Skelton received

regarding the use of force, the reporting of use of force, and the use of body-worn cameras or car

cameras, at any time in his employment by the MPD.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024. The City is withholding documents responsive to this Request.

         161.    All Documents relating to any complaints, investigations, supervision, or disciplinary

proceedings involving William Skelton, at any time in his employment by the MPD.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the


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City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024. The City is withholding documents responsive to this Request.

         162.    All Documents relating to the March 13, 2016 encounter involving MPD Officer Otto

Kiehl and civilian Antonio Strawder.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024.

         163.    All Documents relating to the training and supervision Otto Kiehl received regarding

the use of force, the reporting of use of force, and the use of body-worn cameras or car cameras, at

any time in his employment by the MPD.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024. The City is withholding documents responsive to this Request.

         164.    All Documents relating to any complaints, investigations, supervision, or disciplinary

proceedings involving Otto Kiehl, at any time in his employment by the MPD.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was


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November 1, 2024. The City is withholding documents responsive to this Request.

         165.    All Documents relating to the October 16, 2016 encounter involving MPD Officers

Richard Granderson Jr. and Martin Brooks and civilian Jeremiah Hall.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024.

         166.    All Documents relating to the training and supervision Richard Granderson Jr. and

Martin Brooks received regarding the use of force, the reporting of use of force, and the use of body-

worn cameras or car cameras, at any time during their employment by the MPD.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024. The City is withholding documents responsive to this Request.

         167.    All Documents relating to any complaints, investigations, supervision, or disciplinary

proceedings involving Richard Granderson Jr. and Martin Brooks, at any time during their

employment by the MPD.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was


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November 1, 2024.

         168.    All Documents relating to the July 17, 2015 encounter involving MPD Officer

Connor Schilling and civilian Darrius Stewart.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024. The City further objects to this Request in that it seeks information protected by

the attorney work product doctrine. The City is withholding documents responsive to this Request.

         169.    All Documents relating to the training and supervision Connor Schilling received

regarding the use of force, the reporting of use of force, and the use of body-worn cameras or car

cameras, at any time in his employment by the MPD.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024. The City is withholding documents responsive to this Request.

         170.    All Documents relating to any complaints, investigations, supervision, or disciplinary

proceedings involving Connor Schilling, at any time in his employment by the MPD.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was


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November 1, 2024. The City is withholding documents responsive to this Request.

         171.    All Documents relating to the April 2, 2015 encounter involving MPD Officers David

Rowsey, Jeremy Mackey, and Armond Fairley, and civilian Daniel Jefferson Jr.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024.

         172.    All Documents relating to the training and supervision David Rowsey, Jeremy

Mackey, and Armond Fairley received regarding the use of force, the reporting of use of force, and

the use of body-worn cameras or car cameras, at any time in their employment by the MPD.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024. The City is withholding documents responsive to this Request.

         173.    All Documents relating to any complaints, investigations, supervision, or disciplinary

proceedings involving David Rowsey, Jeremy Mackey, and Armond Fairley, at any time in their

employment by the MPD.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was


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November 1, 2024.

         174.    All Documents relating to the January 16, 2021 encounter involving MPD Officer

Armando Bustamante and civilian Marco Lockett.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024.

         175.    All Documents relating to the training and supervision Armando Bustamente

received regarding the use of force, the reporting of use of force, and the use of body-worn cameras

or car cameras, at any time in his employment by the MPD.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024. The City is withholding documents responsive to this Request.

         176.    All Documents relating to any complaints, investigations, supervision, or disciplinary

proceedings involving Armando Bustamante, at any time in his employment by the MPD.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024.


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         177.    All Documents relating to the February 21, 2021 encounter involving at least three

MPD officers, including Demetrius Haley and Alexis Brown, and civilian Kadejah Townes.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024.

         178.    All Documents relating to the training and supervision Alexis Brown received

regarding the use of force, the reporting of use of force, and the use of body-worn cameras or car

cameras, at any time in her employment by the MPD.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024. The City is withholding documents responsive to this Request.

         179.    All Documents relating to any complaints, investigations, supervision, or disciplinary

proceedings involving Alexis Brown, at any time in her employment by the MPD.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

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         180.    All Documents relating to the December 1, 2022 encounter involving MPD Officer


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Charles White and civilian Labryant Burnside.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024.

         181.    All Documents relating to the training and supervision Charles White received

regarding the use of force, the reporting of use of force, and the use of body-worn cameras or car

cameras, at any time in his employment by the MPD.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024. The City is withholding documents responsive to this Request.

         182.    All Documents relating to any complaints, investigations, supervision, or disciplinary

proceedings involving Charles White, at any time in his employment by the MPD.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024. The City is withholding documents responsive to this Request.

         183.    All Documents relating to the July 23, 2022 encounter involving MPD Officer Sarah

Carpenter and civilian Carla Hamilton.


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         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024.

         184.    All Documents relating to the training and supervision Sarah Carpenter received

regarding the use of force, the reporting of use of force, and the use of body-worn cameras or car

cameras, at any time in her employment by the MPD.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024. The City is withholding documents responsive to this Request.

         185.    All Documents relating to any complaints, investigations, supervision, or disciplinary

proceedings involving Sarah Carpenter, at any time in her employment by the MPD.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024.

         186.    All Documents relating to the June 1, 2021 encounter involving MPD Officer

Alexander Anderson and civilian Kieron Lee.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second


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Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024.

         187.    All Documents relating to the training and supervision Alexander Anderson received

regarding the use of force, the reporting of use of force, and the use of body-worn cameras or car

cameras, at any time in his employment by the MPD.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024. The City is withholding documents responsive to this Request.

         188.    All Documents relating to any complaints, investigations, supervision, or disciplinary

proceedings involving Alexander Anderson, at any time in his employment by the MPD.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024.

         189.    All Documents relating to the June 15, 2023 encounter involving MPD Officer

Antonio and civilian Terrance Jones.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July


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2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024.

         190.    All Documents relating to the training and supervision Antonio Malone received

regarding the use of force, the reporting of use of force, and the use of body-worn cameras or car

cameras, at any time in his employment by the MPD.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024. The City is withholding documents responsive to this Request.

         191.    All Documents relating to any complaints, investigations, supervision, or disciplinary

proceedings involving Antonio Malone, at any time in his employment by the MPD.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024.

         192.    All Documents relating to the December 23, 2022 encounter involving MPD Officer

Kendarius Sanders and at least one other MPD officer, and civilian Joseph Jackson.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the


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City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

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         193.    All Documents relating to the training and supervision Kendarius Sanders and any

other officers involved in the December 23, 2022 encounter with civilian Joseph Jackson received

regarding the use of force, the reporting of use of force, and the use of body-worn cameras or car

cameras, at any time in their employment by the MPD.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024. The City is withholding documents responsive to this Request.

         194.    All Documents relating to any complaints, investigations, supervision, or disciplinary

proceedings involving Kendarius Sanders and any other officers involved in the December 23, 2022

encounter with civilian Joseph Jackson, at any time in their employment by the MPD.

         RESPONSE: The City objects to this Request as untimely. Pursuant to the operative Second

Amended Scheduling Order, ECF No. 185, the deadline for completing written discovery was July

2, 2024. Likewise, the deadline for completing written discovery as agreed upon by Plaintiff and the

City in the pending Joint Motion to Modify Second Amended Scheduling Order, ECF No. 201, was

November 1, 2024.

                                                        Respectfully submitted,

                                                        BAKER, DONELSON, BEARMAN,
                                                        CALDWELL & BERKOWITZ, P.C.


                                                        s/ Jennie Silk
                                                        Bruce McMullen (#18126)

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                                            Attorneys for Defendant City of Memphis,
                                            Chief Cerelyn Davis in her Official Capacity,
                                            and Dewayne Smith as Agent of the City of
                                            Memphis




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                                 CERTIFICATE OF SERVICE

         I hereby certify that on December 26, 2024, a copy of the foregoing document was served

on all counsel of record and the Guardian Ad Litem via e-mail:

                                                     s/ Jennie Silk
                                                     Jennie Silk




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